USCA Case #23-1038           Document #2002545                Filed: 06/07/2023     Page 1 of 2
                  United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-1056                                                     September Term, 2022
                                                                         EPA-87FR72989
                                                              EPA-HQ-OLEM-2021-0587-0023
                                                              EPA-HQ-OLEM-2021-0590-0002
                                                              EPA-HQ-OLEM-2021-0593-0002
                                                              EPA-HQ-OLEM-2021-0595-0002
                                                           Filed On: June 7, 2023
Electric Energy, Inc., et al.,

               Petitioners

       v.

Environmental Protection Agency and
Michael S. Regan, Administrator, United
States Environmental Protection Agency,

                  Respondents
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State of Texas, et al.,
                  Intervenors
------------------------------
Consolidated with 22-1058

____________________________________
No. 23-1035                                                                  EPA-87FR72989

Electric Energy, Inc., et al.,

               Petitioners

       v.

Environmental Protection Agency and
Michael S. Regan, Administrator, United
States Environmental Protection Agency,

                  Respondents
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Sierra Club,
                  Intervenor
------------------------------
Consolidated with 23-1036, 23-1037, 23-1038
USCA Case #23-1038         Document #2002545             Filed: 06/07/2023       Page 2 of 2
                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


      BEFORE:       Henderson, Walker, and Garcia, Circuit Judges

                                        ORDER

      Upon consideration of the motion to hold in abeyance No. 23-1035, et al., the
response thereto, and the replies; and the motion to consolidate No. 22-1056, et al.,
and No. 23-1035, et al., the responses thereto, and the reply, it is

      ORDERED that the motions be denied. The Clerk is directed to schedule No.
22-1056, et al., and No. 23-1035, et al., for oral argument on the same day before the
same panel. It is

       FURTHER ORDERED, on the court’s own motion, that the parties submit, within
30 days of the date of this order, a proposed format and schedule for the briefing of No.
23-1035, et al. The parties are strongly urged to submit a joint proposal and are
reminded that the court looks with extreme disfavor on repetitious submissions and will,
where appropriate, require a joint brief of aligned parties with total words not to exceed
the standard allotment of a single brief. Whether the parties are aligned or have
disparate interests, they must provide detailed justifications for any request to file
separate briefs or to exceed in the aggregate the standard word allotment. Requests to
exceed the standard word allotment must specify the word allotment necessary for each
issue. It is

      FURTHER ORDERED, on the court’s own motion, that the parties submit, within
30 days of the date of this order, a proposed schedule for the remainder of briefing in
No. 22-1056, et al.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Tatiana Magruder
                                                         Deputy Clerk




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